    Case 4:22-cv-02956-HSG Document 17 Filed 06/15/22 Page 1 of 13



Chian Chiu Li
5773 Tan Oak Drive
Fremont, CA 94555
(408) 417-0455
Pro Se Defendant

                             UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF CALIFORNIA

APPLE INC.,
        Plaintiff,                                  Case No. 4:22-cv-02956-HSG


              v.
                                                    ANSWER AND COUNTERCLAIM

                                                    JURY TRIAL DEMANDED
CHIAN CHIU LI,
       Defendant.




       Pro se defendant, Chian Chiu Li ("Mr. Li"), hereby responds to Apple’s Complaint for

Declaratory Judgment of Non-infringement of U.S. Patent No. 11,016,564 (Dkt. No. 1) filed

by Apple Inc. ("Apple") as follows:

                                 NATURE OF THE ACTION
       1.     Mr. Li admits that Apple has filed a Complaint that purports to be a request for

declaratory judgment of non-infringement.      Mr. Li denies the remaining allegations in this

paragraph.

       2.     Mr. Li is without knowledge or information at this time sufficient to form a

belief as to the truth of the allegations of Paragraph 2, and therefore denies the same.

       3.     Mr. Li admits to be the sole owner of U.S. Patent No. 11,016,564 ("the '564

Patent").    Mr. Li denies the remaining allegations in this paragraph.

       4.     Mr. Li admits that he filed a complaint against Apple on April 5, 2022.      Mr. Li


                                                1
    Case 4:22-cv-02956-HSG Document 17 Filed 06/15/22 Page 2 of 13



denies the remaining allegations in this paragraph.

          5.      Mr. Li admits his complaint against Apple alleged that certain Apple products

infringe the '564 patent.      Mr. Li denies the remaining allegations in this paragraph.

          6.      Mr. Li admits his complaint against Apple alleged that Apple directly infringes

and continues to directly infringe at least claims 1, 4, 5, 8, 11, 12, 14, 18, and 20 of the '564

Patent, in the United States, under 35 U.S.C. § 271(a), literally or under the doctrine of

equivalents, by, among other things, making, using, selling, offering to sell, and/or importing

products/devices that practice the claimed inventions in claims 1, 4, 5, 8, 11, 12, 14, 18, and

20 of the '564 Patent. Mr. Li also admits his complaint against Apple alleged that such

infringing products include at least the following devices: (i) iPhone 13 Pro Max, iPhone 13

Pro, iPhone 13 mini, iPhone 13, iPhone 12 Pro Max, iPhone 12 Pro, iPhone 12 mini, iPhone

12, iPhone 11 Pro Max, iPhone 11 Pro, iPhone 11, iPhone XS Max, iPhone XS, iPhone XR,

and iPhone X, and (ii) iPad Pro 12.9-inch (4th generation), iPad Pro 12.9-inch (3rd

generation), iPad Pro 11-inch (2nd generation), and iPad Pro 11-inch (collectively, the

"Accused Devices").         Mr. Li denies the remaining allegations in this paragraph.

          7.      Mr. Li admits his complaint against Apple alleged that each of the Accused

Devices implements, incorporates, or uses the "Unlock with Face ID" process that infringes

each and every limitation of claim 1, as well as infringe each and every limitation of claims 8

and 14.        Mr. Li denies the remaining allegations in this paragraph.

          8.      Mr. Li admits his complaint against Apple alleged that Apple was made aware

of the '564 Patent on June 9, 2021 when an email and a claim chart were sent to Mr. Asa

Wynn-Grant, Legal Counsel, IP Transactions at Apple, and thus Apple was given notice of its

infringement of the '564 Patent at least as early as June 9, 2021.     Mr. Li denies the

remaining allegations in this paragraph.

          9.      Mr. Li admits exchanging correspondence with Mr. Asa Wynn-Grant in regard



                                                   2
     Case 4:22-cv-02956-HSG Document 17 Filed 06/15/22 Page 3 of 13



to the '564 Patent over the course of several months prior to filing his complaint against

Apple.     Mr. Li denies the remaining allegations in this paragraph.

          10. Mr. Li admits informing Mr. Asa Wynn-Grant about Apple’s infringement of the

'564 Patent prior to filing his complaint against Apple.   Mr. Li denies the remaining

allegations in this paragraph.

          11. Mr. Li admits his complaint against Apple was voluntarily dismissed on May 17,

2022.     Mr. Li denies the remaining allegations in this paragraph.

          12. Mr. Li is without knowledge or information at this time sufficient to form a

belief as to the truth of the allegations of this paragraph, and therefore denies the same.

          13. Mr. Li admits Apple has filed a complaint that purports to be a request for

declaratory judgment of non-infringement, but Mr. Li denies that Apple is entitled to such

relief.

          14. Mr. Li denies that Apple is entitled to such relief with regard to Apple’s

complaint.


                                         THE PARTIES

          15. Mr. Li admits Apple is a California corporation having its principal place of

business at One Apple Park Way, Cupertino, California 95014.        Mr. Li is without knowledge

or information at this time sufficient to form a belief as to the truth of the remaining

allegations in this paragraph, and therefore denies the same.

          16. Admitted.

          17. Admitted.

                                 JURISDICTION AND VENUE

          18. Mr. Li admits that Apple has brought this action under and purported that Apple

has claims under the Declaratory Judgment Act, 28 U.S.C. § 2201 et seq., and under the


                                                 3
    Case 4:22-cv-02956-HSG Document 17 Filed 06/15/22 Page 4 of 13




patent laws of the United States, Title 35 of the United States Code, but denies that the claims

are valid or sustainable.

       19. Without waiving any claims or defenses or conceding any of Apple’s factual and

legal arguments relating to this action, Mr. Li admits the Court has subject matter jurisdiction

over this action under 28 U.S.C. §§ 1331, 1338(a), and 2201.

       20. Admitted.

       21. Mr. Li admits filing his complaint in this District alleging infringement of the

'564 patent and being located in this District, but denies the remaining allegations in this

paragraph.

       22. Mr. Li admits that venue is proper in this District and that the Court has personal

jurisdiction over Mr. Li, but denies the remaining allegations in this paragraph, including

specifically denying that any events have given rise to a valid claim for Apple.

       23. Denied.

                             INTRADISTRICT ASSIGNMENT

       24. This case has already been assigned to the Honorable Haywood S. Gilliam, Jr.

and so this paragraph requires no response.

                                 THE ASSERTED PATENT

       25. Admitted.

       26. Admitted.

                                         COUNT ONE

             (Declaratory Judgment of Non-Infringement of the '564 Patent)

       27. Mr. Li repeats and realleges all preceding responses set forth in this Answer as if



                                                4
     Case 4:22-cv-02956-HSG Document 17 Filed 06/15/22 Page 5 of 13




set forth fully wherein.

           28. Denied.

           29. Admitted.

           30. Denied.

           31. Denied.

           32. Denied.

           33. Denied.

           34. Denied.

           35. Denied.

           36. Denied.

           37. Denied.

           38. Denied.

                           ANSWER TO “PRAYER FOR RELIEF”

           39. Mr. Li denies that Apple should be awarded any of the relief requested, or any

other relief.

                                        JURY DEMAND

           40. Mr. Li admits that Apple has demanded a jury trial on all claims and issues so

triable.

           41. To the extent that any allegations of the Complaint have not been previously

specifically admitted or denied, Mr. Li denies them.

                                       COUNTERCLAIM

                                      (Patent Infringement)



                                                 5
    Case 4:22-cv-02956-HSG Document 17 Filed 06/15/22 Page 6 of 13




 Counterclaim Plaintiff Mr. Li files this Counterclaim against Apple and alleges as follows:

                                          THE PARTIES

        42. Mr. Li is an individual inventor having a residence at 5773 Tan Oak Drive,

Fremont, California 94555.

        43. Mr. Li is the named inventor of and owner of all right, title, and interest in and

to the '564 Patent, issued May 25, 2021 and titled "System and method for providing

information."    A true and correct copy of the '564 Patent is attached hereto as Exhibit A.

        44. Apple is a California corporation having its principal place of business at One

Apple Park Way, Cupertino, California 95014.        Apple produces and sells electronic devices

that directly infringe the '564 Patent.

                                JURISDICTION AND VENUE

        45. This is an action for patent infringement arising under the patent laws of the

United States, 35 U.S.C. § 1 et seq., including, but not limited to, 35 U.S.C. § 271.

        46. This Court has subject matter jurisdiction under 28 U.S.C. §§ 1331 and 1338(a).

        47. The Court has personal jurisdiction over Apple because, among other things,

Apple has committed and continues to commit acts of patent infringement within the U.S.

and this Judicial District, in violation of 35 U.S.C. § 271.   Additionally, Apple is a

California corporation and maintains a primary place of business in this District.

        48. Venue is proper in this Court pursuant to 28 U.S.C. §§ 1391(b), 1391(c), and

1400(b) because Apple has committed and continues to commit acts of patent infringement in

this District and has a regular and established place of business in this District.

        49. Moreover, Apple has consented to the Court’s jurisdiction and to venue in this



                                                6
     Case 4:22-cv-02956-HSG Document 17 Filed 06/15/22 Page 7 of 13




District, including electing to bring this action in this District, arguing that jurisdiction and

venue were proper.

                                       THE '564 PATENT

        50.    Mr. Li is the named inventor and rightful owner of the '564 Patent and holds

the entire right, title, and interest in the '564 Patent, including the right to assert all causes of

action arising under the patent and the right to any remedies for infringement of it.

        51. On May 25, 2021, the United States Patent and Trademark Office duly issued

the '564 Patent.   The '564 Patent is titled "System and method for providing information."

The application leading to the '564 Patent was filed on February 3, 2020. However, the '564

Patent is entitled to the priority date of a parent application (U. S. application No. 14/217,486)

that was filed on March 18, 2014 and titled "System and method for providing information."

        52. The '564 Patent relates to technology for presenting information at a mobile

handheld electronic device (or computer) such as a smartphone or tablet.

        53. The patented invention disclosed in the '564 Patent provides an easy, simple,

and intuitive method to unlock a standby device, such as a smartphone or tablet in standby

mode, and presents certain information to the user.       For example, when a smartphone is in

standby mode with a dark screen, the invention performs gaze detection only after detecting

certain act of a user "involving physical contact with the electronic device or physical

movement of the electronic device."       ('564 Patent, claim 1.) The invention also performs a

recognition process, such as facial recognition.      If the user is recognized and looks at the

smartphone, the invention presents certain content (e.g., news, alert, update, email, text

message, sponsored content) on the smartphone.



                                                  7
     Case 4:22-cv-02956-HSG Document 17 Filed 06/15/22 Page 8 of 13




           54. The patented invention disclosed in the '564 Patent resolves technical problems

related to presenting information at a standby device with a dark screen, particularly

problems related to the lack of providing convenience and privacy at the same time to suit the

needs or preferences of a user.

                      COUNT I: INFRINGEMENT OF THE '564 PATENT

           55. Mr. Li restates and realleges the foregoing allegations as if fully stated herein.

           56. Upon information and belief, Apple directly infringes and continues to directly

infringe at least claims 1, 4, 5, 8, 11, 12, 14, 18, and 20 of the '564 Patent, in the United

States, under 35 U.S.C. § 271(a), literally or under the doctrine of equivalents, by, among

other things, making, using, selling, offering to sell, and/or importing products/devices that

practice the claimed inventions in claims 1, 4, 5, 8, 11, 12, 14, 18, and 20 of the '564 Patent.

Such infringing products include at least the Accused Devices.        (See Exhibit B.)

           57. For example, each of the Accused Devices implements, incorporates, or uses the

"Unlock with Face ID" process that infringes each and every limitation of claim 1, which

recites:
           A method for presenting information at an electronic device, comprising:
               1) detecting an act made by a user involving physical contact with the
           electronic device or physical movement of the electronic device when a display
           of the electronic device has an idle screen or a screen in standby mode, inactive
           mode, or screen-saver mode;
               2) performing gaze detection only after detecting the act;
               3) ascertaining whether the user looks at a direction toward the electronic
           device;
               4) determining whether the user is recognized via a recognition mechanism;
           and
               5) presenting a plurality of content items when the user is recognized via the
           recognition mechanism and it is ascertained that the user looks at a direction
           toward the electronic device.
           58. According to Apple's own documents available online, the "Unlock with Face


                                                   8
    Case 4:22-cv-02956-HSG Document 17 Filed 06/15/22 Page 9 of 13




ID" process infringes the first limitation of claim 1, namely "detecting an act made by a user

involving physical contact with the electronic device or physical movement of the electronic

device when a display of the electronic device has an idle screen or a screen in standby mode,

inactive mode, or screen-saver mode", because it requires a user to "[r]aise to wake or tap to

wake [the] iPhone or iPad."    (See, e.g., Exhibit C, p. 2; Exhibit D, p. 1.)

       59. Apple's own documents also show that the "Unlock with Face ID" process

infringes the second and third limitations of claim 1, namely "performing gaze detection only

after detecting the act; ascertaining whether the user looks at a direction toward the electronic

device ", because the process requires the user to glance at the screen of the Accused Device

after raise or tap to wake the device. Particularly, the process instructs the user as follows:
       1. Raise to wake or tap to wake your iPhone or iPad.
       2. Swipe up from the bottom of the Lock screen.
       3. If you're using an iPhone, hold it in portrait orientation, then glance at it.
          On iPad, you can hold it in either portrait or landscape orientation. If it's in
          landscape orientation, make sure that your finger isn't covering the
          TrueDepth camera. Then glance at the screen. …
(Exhibit C, p. 2.)

       60. During the process, the user is recognized via Face ID – a facial recognition

method.    (See Exhibit E.) Thus, the "Unlock with Face ID" process also infringes the

fourth limitation of claim 1, namely "determining whether the user is recognized via a

recognition mechanism." In addition, the "Unlock with Face ID" process infringes claims 4,

12, and 20, each of which recites "the recognition mechanism includes a facial recognition

method."

       61. And lastly, Apple's own document shows that the "Unlock with Face ID"

process and/or other processes of the Accused Devices infringe the fifth limitation of claim 1,



                                                9
    Case 4:22-cv-02956-HSG Document 17 Filed 06/15/22 Page 10 of 13




namely "presenting a plurality of content items when the user is recognized via the recognition

mechanism and it is ascertained that the user looks at a direction toward the electronic device."

For example, Apple's animated webpage titled "Use Raise to Wake on your iPhone" (available

at https://support.apple.com/en-us/HT208081) shows that after an iPhone is wakened and

unlocked, the content of text messages and emails is presented on the screen. The animated

images of the screen on the webpage are reproduced below:




       62. Thus, the Accused Devices perform the method in claim 1 or at least perform

substantially the same function in substantially the same way to achieve substantially the

same result as the corresponding claim elements of claim 1 of the '564 Patent.

       63. At least for the same reasons above, the Accused Devices also infringe each and

every limitation of claims 8 and 14.

       64. On information and belief, these Accused Devices are marketed, provided to,

and/or used by or for Apple’s customers and/or end users across the country and in this


                                               10
    Case 4:22-cv-02956-HSG Document 17 Filed 06/15/22 Page 11 of 13




district.

          65. Apple was made aware of the '564 Patent on June 9, 2021 when Mr. Li sent Mr.

Asa Wynn-Grant, Legal Counsel, IP Transactions at Apple an email and a claim chart

showing Apple's infringement of claims 1, 8, and 14 of the '564 Patent.     Hence, Apple was

given notice of its infringement of the '564 Patent at least as early as June 9, 2021.

          66. Upon information and belief, Apple has engaged in such actions with specific

intent to cause infringement or with conscious blindness to the resulting infringement

because Apple has had actual knowledge of the '564 Patent and that its acts were inducing the

infringement of the '564 Patent since at least June 9, 2021 when Apple received the email

notice that such activities infringed the '564 Patent.

          67. Upon information and belief, Apple is liable as a contributory infringer of the

'564 Patent under 35 U.S.C. § 271(c) by offering to sell, selling and importing into the United

States the Accused Devices.

          68. Apple was made aware of the '564 Patent and its infringement thereof at least as

early as June 9, 2021. Despite Mr. Li’s notice to Apple regarding the '564 Patent, Apple

continues to infringe the '564 Patent.

          69. Apple has never been, and is not now, licensed under the '564 Patent, and has

never been authorized by Mr. Li, the owner of the '564 Patent to engage in the acts alleged

herein.

          70. The '564 Patent is valid and enforceable.

          71. Mr. Li has sustained, is sustaining, and will continue to sustain damages owing

to Apple’s infringement of the '564 Patent.



                                                11
   Case 4:22-cv-02956-HSG Document 17 Filed 06/15/22 Page 12 of 13




       72. Apple’s infringement of the '564 patent has been, and continues to be, deliberate,

willful, and knowing.

                                DEMAND FOR JURY TRIAL

                    Mr. Li demands a trial by jury on all issues so triable.

                                   PRAYER FOR RELIEF

       73. WHEREFORE, Mr. Li respectfully requests this Court to enter judgment in his

favor against Apple and to grant the following relief:

       A.    A judgment in favor of Mr. Li that Apple has infringed and continues to infringe

             the '564 Patent;

       B.    An award of damages to be paid by Apple adequate to compensate Mr. Li for

             Apple’s past infringement of the '564 Patent , and any continuing or future

             infringement through the date such judgment is entered, including interest, costs,

             expenses and an accounting of all infringing acts including, but not limited to,

             those acts not presented at trial;

       C.    A declaration that this case is exceptional under 35 U.S.C. § 285, and an award to

             Mr. Li for reasonable compensation; and

       D.    An award to Mr. Li of such further relief at law or in equity as the Court deems

             just and proper.




                                                  12
   Case 4:22-cv-02956-HSG Document 17 Filed 06/15/22 Page 13 of 13




Dated: June 15, 2022        Respectfully submitted,



                            /s/ Chian Chiu Li
                            Chian Chiu Li

                            Pro Se Defendant

                            5773 Tan Oak Drive
                            Fremont, CA 94555
                            Telephone: +1 (408) 417-0455




                                  13
